

Matter of Green (2025 NY Slip Op 01277)





Matter of Green


2025 NY Slip Op 01277


Decided on March 6, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 6, 2025

PM-67-25
[*1]In the Matter of Karen Falkenstein Green, an Attorney. (Attorney Registration No. 5337225.)

Calendar Date:February 24, 2025 

Before:Garry, P.J., Egan Jr., Lynch, Reynolds Fitzgerald and Mackey, JJ. 

Karen Falkenstein Green, Brookline, Massachusetts, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Karen Falkenstein Green was admitted to practice by this Court in 2015 and lists a business address in Brookline, Massachusetts with the Office of Court Administration. Green now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Green's application.
Upon reading Green's affidavit sworn to January 22, 2025 and filed January 27, 2025, and upon reading the February 20, 2025 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Green is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Egan Jr., Lynch, Reynolds Fitzgerald and Mackey, JJ., concur.
ORDERED that Karen Falkenstein Green's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Karen Falkenstein Green's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Karen Falkenstein Green is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Green is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Karen Falkenstein Green shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








